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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

    ROTHSCHILD BROADCAST                           )
    DISTRIBUTION SYSTEMS, LLC,                     )
                                                   )
                         Plaintiff,                )
                                                   )   C.A. No. 21-627 (MN)
                 v.                                )
                                                   )
    BLACKBOARD, INC.,                              )
                                                   )
                         Defendant.                )

                                      SHOW CAUSE ORDER

        At Wilmington, this 7th day of December 2021:

        WHEREAS, on April 30, 2021, Plaintiff commenced this action by filing a Complaint

against Defendant Blackboard, Inc. (D.I. 1);

        WHEREAS, on May 17, 2021, Plaintiff filed a Summons Returned Executed showing that

Defendant was served with the Summons and Complaint on May 13, 2021 (D.I. 7);

        WHEREAS, pursuant to Rule 12(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

Defendant’s responsive pleading to the Complaint was due within twenty-one (21) days after being

served with the Summons and Complaint, in this case, on or before June 3, 2021;

        WHEREAS, on June 3, 2021, the parties filed a stipulation extending the time for

Defendant to move, answer, or otherwise respond to the Complaint to July 6, 2021 (D.I. 8); and

        WHEREAS, more than three months have passed since Plaintiff has taken any action in

this case, with the last action being taken by Plaintiff the signing of the stipulation to extend time

filed on June 3, 2021 (D.I. 8). 1




1
        In addition, more than three months have passed since Defendant’s responsive pleading
        was due (July 6, 2021 + 3 months = October 6, 2021).
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       THEREFORE, IT IS HEREBY ORDERED that on or before December 14, 2021, Plaintiff

shall show cause why this case should not be dismissed for failure to prosecute pursuant to

Rule 41.1 of Local Rules of Civil Practice and Procedure of the United States District Court for

the District of Delaware.




                                                   The Honorable Maryellen Noreika
                                                   United States District Judge




                                               2
